Case 9:19-cv-81160-RS Document 635-3 Entered on FLSD Docket 08/17/2020 Page 1 of 5
Case 9:19-cv-81160-RS Document 635-3 Entered on FLSD Docket 08/17/2020 Page 2 of 5



       1                     UNITED STATES DISTRICT COURT

       2                     SOUTHERN DISTRICT OF FLORIDA

       3                       CASE NO: 9:19-cv-81160-RS

       4   ------------------------------------------------------------

       5   APPLE INC.,                             )
                                                   )
       6                          Plaintiff,       )
                                                   )
       7         vs.                               )
                                                   )
       8   CORELLIUM, LLC,                         )
                                                   )
       9                          Defendant.       )

     10    ------------------------------------------------------------

     11                              DEPOSITION OF

     12                                JASON SHIRK

     13                         NON-CONFIDENTIAL PORTION

     14

     15                              March 23, 2020

     16                                 10:15 a.m.

     17

     18                      1200 Sixth Avenue, Suite 610

     19                           Seattle, Washington

     20

     21

     22

     23

     24

     25    REPORTED BY:    Allison O'Brien, CCR No. 2163
Case 9:19-cv-81160-RS Document 635-3 Entered on FLSD Docket 08/17/2020 Page 3 of 5



      1          A.    I did it through several vulnerabilities.
      2          Q.    Did you discover those vulnerabilities, or were
      3    they vulnerabilities that had been discovered elsewhere?
      4          A.    Both.
      5          Q.    And in the vulnerabilities that you discovered,
      6    did you turn those vulnerabilities in to the -- in to the
      7    vendor?
      8          A.    No.   There was no way at that time to do so.       And
      9    the most common response at that point in time in the
     10    eighties and nineties -- we're in a different day today --
     11    was to receive a cease and desist letter and have people in
     12    suits show up at your house with potential penalties.
     13          Q.    Do you consider what you did during your
     14    jailbreaking during the nineties to be bad-faith research?
     15          A.    No, I wouldn't say that.     I would, however, say
     16    that I was naive and didn't understand the implications of
     17    the things that I had found.      I was a child or young
     18    teenager.    I didn't understand the potential impacts of what
     19    I was actually looking at.
     20          Q.    Okay.   But still not bad-faith, just being naive?
     21          A.    Naive and curious.
     22          Q.    What if a vulnerability is discovered and that
     23    vulnerability is provided to, for example, the U.S.
     24    government which is then used to unlock a phone or a device
     25    of a terrorist cell that's planning attack against the
Case 9:19-cv-81160-RS Document 635-3 Entered on FLSD Docket 08/17/2020 Page 4 of 5
                           Jason Shirk Vol Non-confidential
                                    March 23, 2020

      1    United States; would you consider that --
      2                       MS. BINA:    Objection --
      3          Q.     -- bad-faith?     Would you consider that bad --
      4                       MR. LEVINE:    I'm not done with the question
      5          yet.    Thank you.
      6                       MS. BINA:    I'm sorry.     I thought you were
      7          done.
      8          Q.     (By Mr. Levine)     Would you consider that bad-faith
      9    security research?      Go ahead.
     10                       MS. BINA:    Objection, improper expert
     11          question, improper opinion.
     12                 You can answer.
     13          A.     The issue that I have with that type of reporting
     14    is that a vulnerability open to one is open to all.            There
     15    is no ability to wall it off for only use for those that
     16    have, we'll say, the constitutional authority to perform
     17    searches of that nature.        And so it's not the way that I
     18    choose to do research.       I understand many do.      And most of
     19    their reasons are monetary.         It can be very lucrative
     20    personally to do so.
     21          Q.      So I don't think that answered my question.        My
     22    question was:      Do you believe, in your personal knowledge,
     23    that that example would constitute good-faith research?             And
     24    I would remind you that you testified earlier that -- when
     25    we were discussing the good faith and bad faith -- that it


                                   U.S. LEGAL SUPPORT
                                 www.uslegalsupport.com
Case 9:19-cv-81160-RS Document 635-3 Entered on FLSD Docket 08/17/2020 Page 5 of 5



      1    the record?
      2                 MS. BINA:    We can go off the record.
      3                 MR. LEVINE:     Yes, we can.
      4                 (Lunch recess taken.)
      5                 (Ms. Gorton and Mr. Wade left the
      6                 proceedings.)
      7                 (Whereupon the testimony from pages 73 to 166
      8                 has been marked confidential, excerpted and
      9                 bound separately.)
     10
     11
     12
     13
     14
     15
     16
     17
     18
     19
     20
     21
     22
     23
     24
     25
